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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                      :    CRIMINAL NO. 21-cr-28-APM
                                                  :
              v.                                  :
                                                  :
    DONOVAN CROWL,                                :
                                                  :
    SANDRA PARKER,                                :
                                                  :
    BENNIE PARKER,                                :
                                                  :
    LAURA STEELE,                                 :
                                                  :
    CONNIE MEGGS, and                             :
                                                  :
    WILLIAM ISAACS                                :
                                                  :
                    Defendants.                   :
                                                  :
                                                  :


                    PARTIES’ JOINT MOTION TO CONTINUE TRIAL

        The parties1 respectfully request that the Court continue the trial date scheduled for April

19, 2022. In light of the representations made by the government in its discovery status report

dated February 10, 2022 (ECF No. 620), the parties will not have sufficient time to review

discovery materials and adequately prepare for a trial beginning mid-April.              Given the

unprecedented volume of materials that the government is making available in discovery, and the

real need for all parties to be able to search and review these materials prior to trial, the ends of

justice that would be served by a continuance substantially outweigh the interests of the public and

the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). Indeed, because




1
 Defendant James Beeks is not part of this filing, as he was not scheduled to participate in the
April 19 trial date. All other parties join in this motion.
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of the historic nature of this case, the public’s interest in a speedy trial must not overshadow the

interest of the public, the parties, and the Court in making sure that this case is tried fairly and well.

                                           BACKGROUND

        On January 12, 2022, the grand jury returned the seventh superseding indictment in this

matter, charging the defendants with conspiracy to obstruct an official proceeding, in violation of

18 U.S.C. § 1512(k); obstruction of an official proceeding and aiding and abetting, in violation of

18 U.S.C. §§ 1512(c)(2), 2; conspiracy to prevent an officer from discharging any duties, in

violation of 18 U.S.C. § 372; and related charges stemming from their participation in the breach

of the Capitol on January 6, 2021. At a status hearing on January 25, 2022, the Court determined

that Defendants Donovan Crowl, Sandra Parker, Bennie Parker, Laura Steele, Connie Meggs, and

William Isaacs would be slated for the trial date of April 19, 2022, which the Court had long before

asked all parties in this case to hold as a possible trial date. Counsel for all six of these defendants

objected to the Court’s proposed trial date, citing their concerns that they could not adequately

prepare their clients’ defenses, given the volume of case-specific discovery already provided and

the ongoing nature of the government’s global discovery efforts. Government counsel also

expressed concerns that global discovery would not be complete in time for the April trial date.

        Following the government’s filing of its discovery status report, the parties have conferred

and agree that an April trial date is not tenable. The case-specific discovery materials in this case

alone make an April trial date challenging. The government has provided more than two terabytes

of discovery materials specific to this case alone. Because the defendants stand charged with

conspiring not only with each other but with defendants charged in Criminal Case Nos. 22-cr-15

and 22-cr-14, as well as other uncharged subjects referenced in the discovery materials, this is not

a case where defense counsel can ignore materials that, on their face, apply primarily to another



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defendant. While the defense was provided some of these materials closer to the outset of this

case, other materials were made available only recently because they were gathered later in the

investigation. For example, Defendant James Beeks was apprehended in late November (very

shortly after he was identified by law enforcement as the fourteenth and final member of the group

with which these defendants entered the Capitol), and the government is just now completing the

review and discovery of evidence from several digital devices seized from Defendant Beeks upon

arrest. ECF No. 620 at 20.

       Additionally, as described in greater detail in the government’s discovery status report,

ECF No. 620, the government is making an unprecedented volume of materials available through

its global discovery. This includes tens of thousands of hours of surveillance video, body-worn

camera footage, and public source video; tens of thousands of information and data from tips

provided to the Federal Bureau of Investigation (“FBI”) and local police departments; hundreds of

internal investigation reports into the conduct of law enforcement on January 6, 2021; hundreds of

thousands of FBI reports documenting the investigation of all subjects identified as playing a role

in the breach of the Capitol; and data seized pursuant to legal process or consent from thousands

of digital devices and other digital accounts of those who participated in the Capitol Breach. The

government is making this data available due to the unique circumstances of this matter, i.e., this

case encompasses hundreds of similar crimes being committed in the same place

contemporaneously, where many defendants recorded their crimes and those of others around

them. As defendants are in a better position to determine what evidence they believe is exculpatory

and will help in their defense, the government’s plan – to provide the defense with all data that

may contain such information, but in a manner that will facilitate search, retrieval, sorting, and

management of that information – continues to be reasonable and appropriate. It is especially



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significant in this case, where the government has already been asked by defense to identify and

provide discovery from other cases that defense has deemed as possibly relevant to the preparation

of its defense.

        For these reasons, none of the parties are comfortable that an April date will permit

sufficient time to review and digest discovery and adequately prepare for trial.

                                          ARGUMENT

        Given the due diligence the government continues to apply to meet its discovery

obligations, as set forth above and in its discovery status memoranda,2 and the defense’s reasonable

desire to adequately search, review, and digest these discovery materials to prepare their defenses,

the parties have established that an ends-of-justice continuance under the Speedy Trial Act

(“STA”), 18 U.S.C. § 3161, et seq., is warranted.

        As the Supreme Court has observed, the STA “recognizes that criminal cases vary widely

and that there are valid reasons for greater delay in particular cases.” Zedner v. United States, 547

U.S. 489, 497 (2006). “Much of the Act’s flexibility is furnished by § 3161(h)([7]), which governs

ends-of-justice continuances.” Id. at 498. “Congress clearly meant to give district judges a

measure of flexibility in accommodating unusual, complex, and difficult cases.” Id. at 508. And

it knew “that the many sound grounds for granting ends-of-justice continuances could not be

rigidly structured.” Id.

        The need for reasonable time to address discovery obligations is among multiple pretrial

preparation grounds that Courts of Appeals, including our Circuit, have routinely held sufficient




2
 In addition to ECF No. 620, the government filed discovery status reports in ECF Nos. 481, 471,
417, 349, as well as verbal representations at every status hearing held in this case. The
government incorporates the information provided in these written and verbal discovery reports
herein by reference.
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to grant continuances and exclude time under the STA – and in cases involving far less complexity

in terms of the volume and nature of data, and far fewer individuals who were entitled to

discoverable materials. See, e.g., United States v. Bikundi, 926 F.3d 761, 777-78 (D.C. Cir. 2019)

(upholding ends-of-justice continuances totaling 18 months in two co-defendant health care fraud

and money laundering conspiracy case, in part because the District Court found a need to “permit

defense counsel and the government time to both produce discovery and review discovery”);

United States v. Bell, 925 F.3d 362, 374 (7th Cir. 2019) (upholding two-month ends-of-justice

continuance in firearm possession case, over defendant’s objection, where five days before trial a

superseding indictment with four new counts was returned, “1,000 pages of new discovery

materials and eight hours of recordings” were provided, and the government stated that “it needed

more than five days to prepare to try [the defendant] on the new counts”); United States v. Vernon,

593 F. App’x 883, 886 (11th Cir. 2014) (District court did not abuse its broad discretion in case

involving conspiracy to commit wire and mail fraud by granting two ends-of-justice continuances

due to voluminous discovery); United States v. Gordon, 710 F.3d 1124, 1157-58 (10th Cir. 2013)

(upholding ends-of-justice continuance of ten months and twenty-four days in case involving

violation of federal securities laws, where discovery included “documents detailing the hundreds

financial transactions that formed the basis for the charges” and “hundreds and thousands of

documents that needs to be catalogued and separated, so that the parties could identify the relevant

ones”)(internal quotation marks omitted); United States v. Lewis, 611 F.3d 1172, 1177-78 (9th Cir.

2010) (upholding ninety-day ends-of-justice continuance in case involving international

conspiracy to smuggle protected wildlife into the United States, where defendant’s case was joined

with several co-defendants, and there were on-going investigations, voluminous discovery, a large

number of counts, and potential witnesses from other countries); United States v. O’Connor, 656



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F.3d 630, 640 (7th Cir. 2011) (upholding ends-of-justice continuances totaling five months and

twenty days in wire fraud case that began with eight charged defendants and ended with a single

defendant exercising the right to trial, based on “the complexity of the case, the magnitude of the

discovery, and the attorneys’ schedules”).

       In this case, an ends-of-justice continuance of the trial date is warranted under 18 U.S.C. §

3161(h)(7)(A) based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). The

Capitol Breach is likely the most complex investigation ever prosecuted by the Department of

Justice. It is therefore justifiable under the considerations of the STA to grant a joint request by

the parties to continue the trial date to review the discovery materials generated by this historically

complex investigation.

                                          CONCLUSION

       For the reasons described above, the parties respectfully request that the Court vacate the

trial scheduled for April 19, 2022. The parties will be prepared to propose a new trial date at the

status hearing scheduled for March 4, 2022, or if the Court would like to select a new date more

quickly, the parties are available for a status hearing the afternoon of February 22, 2022; the parties

may also be able to make themselves available on February 21, 2022 or the morning of February

23, 2022, although those dates are currently inconvenient for some defense counsel. The parties

also respectfully request that, should the Court deny this motion, the Court grant a one-week

extension of the motions filing deadline of February 15, 2022, to February 22, 2022.




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                                              Respectfully submitted,

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